






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00632-CR






In re J. W. Howeth




Jesse Edmon Washington, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 403RD JUDICIAL DISTRICT


NO. 2030206, HONORABLE BRENDA KENNEDY, JUDGE PRESIDING






O R D E R


PER CURIAM

This is a contempt proceeding ancillary to Jesse Edmon Washington's appeal from
a judgment of conviction for possession of marihuana.  The subject of this proceeding is Mr. J. W.
Howeth, appellant's counsel.

Washington's brief was originally due November 27, 2005.  On January 6, 2006, after
Howeth did not file a brief or respond to notices from this Court, the Court abated the appeal for a
hearing.  See Tex. R. App. P. 38.8(b).  Howeth appeared at the hearing and explained his failure to
file a brief by saying that the record from a pretrial hearing was missing.  Howeth told the court that
the missing hearing "has got a good suppression issue."

Inquiries by the Clerk confirmed that the record from this pretrial hearing cannot be
found.  The trial record which is on file, however, reflects that the legality of the search and seizure
was litigated at Washington's trial.  Accordingly, on April 21, 2006, the Court abated the appeal a
second time.  The trial court was to determine, after hearing evidence and argument from the parties,
whether all grounds for suppression and all evidence relevant to the suppression issue are contained
in the trial record.  Howeth failed to appear for this hearing.

On June 21, 2006, the Court ordered Howeth to tender a brief no later than July 21,
2006.  He failed to file a brief as ordered.

On September 14, 2006, Howeth was ordered to appear in person before the Court
on September 27, 2006, to show cause why he should not be held in contempt and sanctions imposed
for his failure to obey the Court's June 21 order.  Howeth did not appear.

We hold that J. W. Howeth is in contempt of this Court and order him fined in the
amount of $500.00.  Payment of this fine shall be made to the Clerk no later than December 29,
2006.

J. W. Howeth is ordered to appear in person before this Court on the 10th day of
January 2007, at 8:30 o'clock a.m., in the courtroom of this Court, located in the Price Daniel, Sr.
Building, 209 West 14th Street, City of Austin, Travis County, Texas.  Howeth is further ordered
to bring with him on that date an original and six copies of his brief in this appeal.

It is ordered December 22, 2006.


Before Chief Justice Law, Justices Puryear and Pemberton

Do Not Publish


